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                              Exhibit C
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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                      )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
 v.                                                       )   Case No. 4:17-cv-00454
                                                          )
 1) CASTLE HILL STUDIOS LLC                               )
    (d/b/a CASTLE HILL GAMING);                           )
 2) CASTLE HILL HOLDING LLC                               )
    (d/b/a CASTLE HILL GAMING); and                       )
 3) IRONWORKS DEVELOPMENT, LLC                            )
    (d/b/a CASTLE HILL GAMING)                            )
                                                          )
                   Defendants.                            )

           VIDEO GAMING TECHNOLOGIES, INC.’S FIRST SET OF REQUESTS FOR
           PRODUCTION OF DOCUMENTS AND THINGS TO CASTLE HILL GAMING

             Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff Video Gaming

      Technologies, Inc. serves the following requests for the production of documents and things on

      Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development

      LLC. VGT requests that Defendants provide responses to each request and produce the

      documents and things sought for inspection and copying at the office of VGT’s counsel,

      Covington & Burling LLP, One CityCenter, 850 Tenth Street, NW, Washington, DC, 20001 or at

      a place mutually agreeable to the parties, within the time prescribed by the Federal Rules of Civil

      Procedure and the Local Rules of this Court.

                                               DEFINITIONS

             Unless the terms of a request specifically indicate otherwise, the following definitions are

      applicable throughout these requests and are incorporated into each request.




                                                      1
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   REQUEST FOR PRODUCTION NO. 37:

          All Documents and Things referring or relating to any comparison between VGT and

   CHG, including similarities or differences in their Marks, Trade Dress, or products.

   REQUEST FOR PRODUCTION NO. 38:

          All Documents and Things referring or relating to CHG’s knowledge of VGT, the VGT

   Marks, the VGT Trade Dress, the VGT Trade Secrets, and VGT’s products.

   REQUEST FOR PRODUCTION NO. 39:

          All Documents and Things sufficient to show, on a quarterly basis, the revenues of each

   of the Accused Games sold or leased from the date of first use to present.

   REQUEST FOR PRODUCTION NO. 40:

          All Documents and Things sufficient to show, on a quarterly basis, the gross and net

   profits realized by CHG, directly or indirectly, for each of the Accused Games sold or leased

   from the date of first use to present.

   REQUEST FOR PRODUCTION NO. 41:

          All Documents and Things sufficient to show, on a quarterly basis, CHG’s gross and nets

   profits since CHG began operating.

   REQUEST FOR PRODUCTION NO. 42:

          All Documents and Things sufficient to show a comparison of CHG’s profitability

   between its Accused Games and its non-Accused Games.

   REQUEST FOR PRODUCTION NO. 43:

          All Documents and Things sufficient to show the number of units of each of the Accused

   Games in operation by month and year and the names and locations of the casinos where the

   units are or were operating.



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                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 25, 2017, I sent via email, and on September 26, 2017,

   I deposited for mailing in the U.S. Mail, a true and correct copy of the foregoing VIDEO

   GAMING TECHNOLOGIES, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF

   DOCUMENTS AND THINGS TO CASTLE HILL GAMING to Castle Hill Studios LLC,

   Castle Hill Holdings LLC, and Ironworks Development LLC, postage prepaid and addressed to

   the following:

   James C. Hodges, OBA 4254
   JAMES C. HODGES, PC
   2622 East 21st Street, Suite 4
   Tulsa, OK 74114
   Telephone: (918) 779-7078
   JHodges@HodgesLC.Com

   Duane H. Zobrist
   Jonathan S. Jacobs
   ZOBRIST LAW GROUP PLLC
   1900 Arlington Blvd. Suite B
   Charlottesville, VA 22903
   Telephone: (434) 658-6400
   dzobrist@zoblaw.com
   jjacobs@zoblaw.com

   Attorneys for Defendants Castle Hill
   Studios LLC, Castle Hill Holdings LLC,
   and Ironworks Development LLC




                                                              /s/ Boniface Echols




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